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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER GRANTING MOTION TO
                                      )       AMEND RELEASE CONDITIONS
       vs.                            )
                                      )
Sibashton Tre Holybear,               )       Case No. 1:21-cr-235
                                      )
               Defendant.             )


       On August 2, 2023, the court issued orders conditionally releasing Defendant to the Prairie

Recovery Center for Treatment. (Doc. No. 255 and 256). The orders further provided that, at least

96 hours prior to anticipated completion of the treatment program, Defendant was to advise the

Pretrial Services Officer of his anticipated completion date so the court could schedule a hearing to

review his release status. (Id.).

       On November 15, 2023, Defendant filed a Motion to Amend Order Granting Release. (Doc.

No. 260). Defendant anticipates that he will complete his treatment programming and be discharged

by the Prairie Recovery Center on November 21, 2023. He requests that the court permit him to

reside at Blessed Builders, a sober loving facility in Bismarck, North Dakota, following his

discharge from the Prairie Recovery Center.

       There being no objection from the United States, the court GRANTS Defendant’s motion

(Doc. No. 260) and modifies Defendant’s release conditions as follows. Upon completing his

treatment programming at the Prairie Recovery Center, Defendant shall report to and reside at

Blessed Builders. Defendant shall not change his residence without the prior permission of the

Pretrial Services Office. Defendant shall comply with all of Blessed Builders’ rules and regulations


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and participate in its programming. Defendant otherwise remains subject to all of the release

conditions previously imposed by the court.

       IT IS SO ORDERED.

       Dated this 16th day of November, 2023.

                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court




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